   Case 2:17-cv-01941-GW-E Document 25 Filed 05/04/17 Page 1 of 15 Page ID #:706


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 17-1941-GW(Ex)                                              Date     May 4, 2017
 Title             Grant McKee v. Audible, Inc., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                           Katie Thibodeaux
                 Deputy Clerk                        Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                  Jamin Samuel Soderstrom                                    Jedediah Wakefield
 PROCEEDINGS:                   DEFENDANTS' MOTION TO COMPEL ARBITRATION AND
                                DISMISS CLAIMS [18]


The Court’s Tentative Ruling is circulated and attached hereto. Court hears oral argument. For reasons
stated on the record, Defendants’ motion is continued to June 22, 2017 at 8:30 a.m. Simultaneous
supplemental briefs will be filed by May 31, 2017 and will not exceed 15 pages. Simultaneous
responses will be filed by June 14, 2017 and will not exceed 10 pages.




                                                                                                   :     40
                                                               Initials of Preparer   JG
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                   Page 1 of 1
Case 2:17-cv-01941-GW-E Document 25 Filed 05/04/17 Page 2 of 15 Page ID #:707



Mckee v. Audible, Inc. et al., Case No. CV-17-1941-GW (Ex)
Tentative Ruling on Defendants’ Motion to Compel Arbitration



I. Background
       Grant Mckee (“Plaintiff”) sues, on behalf of himself and similarly situated individuals,
Audible, Inc. (“Audible”) and Amazon.com, Inc. (“Amazon”) (collectively “Defendants”) for (1)
violation of the Lanham Act, 15 U.S.C. § 1125; (2) Violation of False Advertising Law, Cal.
Bus. & Prof. Code § 17500 et seq.; (3) violation of the federal Credit Card Accountability
Responsibility and Disclosures Act which amends the federal Electronic Funds Transfer Act, 15
U.S.C. § 1693l-1(a)(2)(B); (4) violation of Gift Certificate Law, Cal. Civ. Code § 1749.45 et
seq.; (5) violation of California’s Automatic Purchase Renewals Law, Cal. Bus. & Prof. Code §
17600 et seq.; (6) Conversion; (7) violation of Consumers Legal Remedies Act, Cal. Civ. Code §
1750 et seq.; (8) violation of California’s Unfair Competition Law (UCL), Cal. Bus. & Prof.
Code § 17200 et seq.; and (9) Restitution, Unjust Enrichment, and Money Had and Received
See generally Complaint (“Compl.”), Docket No. 1.
       In 2016 Plaintiff signed up for a free one-month trial with Audible on his smartphone.
Declaration of Grant Mckee (“Mckee Decl.”), Docket No. 21-1 at ¶ 6. Audible is an audiobook
and spoken audio information and entertainment service that Amazon acquired in 2008.
Declaration of Jason Massello in Support of Defendants’ Motion to Compel Arbitration
(“Massello Decl.”), Docket No. 18-1 at ¶ 3. Audible offers a subscription based service, where
subscribers pay a fixed fee, and in turn receive membership benefits, including access to
exclusive original audio series, discounts on audiobooks, and membership credits, which they
can redeem for audiobooks and other audio content. Id. ¶¶ 3-4. Each membership credit can be
redeemed for one audiobook, regardless of the book’s price. Id. ¶ 4. Pursuant to Audible’s
conditions of use (“Audible COU”), upon termination of an account, the user forfeits any unused
credits. Id. ¶¶ 6-7. Following Plaintiff’s initial 30-day trial, he was automatically enrolled in an
Audible subscription. Mckee Decl. ¶¶ 8-9; Massello Decl. ¶ 15. In December 2016, Plaintiff
cancelled his membership and forfeited several unused credits he had earned up to that point.
Mckee Decl. ¶ 10. Plaintiff’s causes of action stem from Audible’s policy concerning unused
credits. See generally FAC.
        On June 26, 2016 Plaintiff used his standard size iPhone 7 smartphone to access


                                                 1
Case 2:17-cv-01941-GW-E Document 25 Filed 05/04/17 Page 3 of 15 Page ID #:708



Audible’s mobile website. Mckee Decl. ¶ 6. On Audible’s home page he pressed a Try Audible
Free box. Id. On the next page he pressed a Sign In box that signed him into Audible using the
Amazon account he created in 2008. Id. He claims he did not see any disclosure of the Audible
COU or Amazon COU near the Try Audible Free or Sign In boxes. Id. He then designated a
credit card for any future Audible purchases he decided to make and pressed a Start Now box to
accept a “free” 30-day trial membership and “free” credit. McKee Decl. ¶¶ 6–7. Plaintiff claims
he was not prompted or required to scroll past the Start Now box, so he did not do so. Id. He
claims he never saw a disclosure near the Start Now box stating that by accepting a free trial
membership and credit he agreed to the Audible COU. Id. ¶¶ 6–7. Plaintiff claims he made no
purchases on June 26, 2016. Id. ¶ 7.
              Plaintiff took several screenshots in 2017 of Audible’s mobile website from his personal
cellular device. See Declaration of Jamin S. Soderstrom (“Soderstrom Decl.”) Ex. 11, Docket
No. 21-14 at p. 4 (“Audible Screenshots”). These pictures reflect that, immediately below the
Start Now box Plaintiff admits he selected, the following disclosure appears: “By completing
your purchase, you agree to Audible’s Conditions of Use and Privacy Notices and authorize us to
charge your designation credit card or another available credit card on file.” See Audible
Screenshots.                 The phrase does not appear to be hyperlinked. Id. Immediately below the
disclosure there is additional language that does contain a hyperlink to the “terms and policies”
that apply to Audible Membership. Id.1
                 Plaintiff claims he never saw the disclosure, or the hyperlink that followed. McKee
Decl. ¶¶ 6–7. The parties do not dispute that Audible COA on June 26, 2016 contained the
following provision:
                             “Any dispute or claim arising from or relating to these Terms or
                             your use of the Service is subject to the binding arbitration,
                             governing law, disclaimer of warranties, limitation of liability and
                             all other terms in the Amazon.com Conditions of Use.”

See Massello Decl. Ex. 4, Docket No. 18-5 at p. 4. The Amazon Conditions of Use (“Amazon
COU”) provide:
                             Any dispute or claim relating in any way to your use of any
                             Amazon Service, or to any products or services sold or
                                                            
1
 In support of their Motion to Compel, Defendants attach screenshots from Audible’s traditional, as in not Mobile
website. See Massello Decl. Ex. 12, Docket No. 18-13. Unlike the mobile version, there is a hyperlink in the
disclosure immediately below the Start Now button. Id.

                                                               2
Case 2:17-cv-01941-GW-E Document 25 Filed 05/04/17 Page 4 of 15 Page ID #:709



               distributed by Amazon or through Amazon.com will be
               resolved by binding arbitration, rather than in court, except
               that you may assert claims in small claims court if your claims
               qualify. The Federal Arbitration Act and federal arbitration law
               apply to this agreement.

               There is no judge or jury in arbitration, and court review of an
               arbitration award is limited. However, an arbitrator can
               award on an individual basis the same damages and relief as a
               court (including injunctive and declaratory relief or statutory
               damages), and must follow the terms of these Conditions of Use
               as a court would.

               To begin an arbitration proceeding, you must send a letter
               requesting arbitration and describing your claim to our registered
               agent Corporation Service Company, 300 Deschutes Way SW,
               Suite 304, Tumwater, WA 98501. The arbitration will be
               conducted by the American Arbitration Association (AAA) under
               its rules, including the AAA’s Supplementary Procedures for
               Consumer Related Disputes. The AAA’s rules are available at
               www.adr.org or by calling 1-800-778-7879. Payment of all filing,
               administration and arbitrator fees will be governed by the AAA’s
               rules. We will reimburse those fees for claims totaling less than
               $10,000 unless the arbitrator determines the claims are frivolous.
               Likewise, Amazon will not seek attorneys’ fees and costs in
               arbitration unless the arbitrator determines the claims are frivolous.
               You may choose to have the arbitration conducted by telephone,
               based on written submissions, or in person in the county where you
               live or at another mutually agreed location.

               We each agree that any dispute resolution proceedings will be
               conducted only on an individual basis and not in a class,
               consolidated or representative action. If for any reason a claim
               proceeds in court rather than in arbitration we each waive any
               right to a jury trial. We also both agree that you or we may bring
               suit in court to enjoin infringement or other misuse of intellectual
               property rights.

Id. (bold in original).
       Previous to signing up for Audible, Plaintiff had an Amazon account dating back to 2008,
and an Amazon “Prime” Membership since 2012. Mckee Decl. ¶¶ 2, 4. When Plaintiff first
joined Amazon in 2008 there was no arbitration provision contained in the Amazon COU but
one was added on August 19, 2011. Massello Decl. ¶ 8. The current Amazon COU include the


                                                 3
Case 2:17-cv-01941-GW-E Document 25 Filed 05/04/17 Page 5 of 15 Page ID #:710



arbitration provision cited above. Id. Defendants claim Amazon notifies its users regarding its
updated COU by sending notice to all Amazon account holders. Id. Plaintiff joined Amazon
Prime (“Prime”) in February, 2012. Mckee Decl. ¶ 4. In order to join Prime a customer is
required to press a button immediately above the following disclosure: “By signing up, you agree
to the Amazon Prime terms.” Massello Decl. ¶ 13; Ex. 9. This statement hyperlinks to the
Prime terms, which in turn incorporate the Amazon COU. Id.; Massello Decl. Exs. 10-11. Each
time an Amazon customer makes a purchase a disclaimer appears-on both the mobile and
traditional sites-that indicates by purchasing the item the customer agrees to the Amazon COU.
Massello Decl. ¶¶ 11-12. Plaintiff has made several purchases on both Amazon and with his
Amazon Prime account. Massello Decl. ¶ 14; Mckee Decl. ¶ 5.
       Plaintiff filed this action on March 10, 2017. See generally Compl. On April 5, 2017,
Defendants filed this Motion to Compel Arbitration contending that Plaintiff agreed to Audible’s
Conditions of Use (“Audible COU”), which contained an arbitration provision, and that Plaintiff
also agreed to Amazon’s Conditions of Use (“Amazon COU”), containing the same provision.
See Defendants’ Motion to Compel Arbitration (“MTC”), Docket No. 18. Plaintiff has filed an
opposition. See Plaintiff’s Opposition to Defendants’ Motion to Compel (“Opp’n”), Docket No.
21.
II. Legal Standard
       The Federal Arbitration Act (“FAA”) reflects a “liberal federal policy favoring
arbitration.” AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2010) (citation omitted). A
party aggrieved by the refusal of another party to arbitrate under a written arbitration agreement
may petition the court for an order compelling arbitration as provided for in the parties’
agreement. See 9 U.S.C. § 4. “By its terms, the [FAA] leaves no room for the exercise of
discretion by a district court, but instead mandates that district courts shall direct the parties to
proceed to arbitration on issues as to which an arbitration agreement has been signed.” Dean
Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 213 (1985) (emphasis in original); see also 9 U.S.C.
§ 4. “The court’s role under the Act is therefore limited to determining (1) whether a valid
agreement to arbitrate exists and, if it does, (2) whether the agreement encompasses the dispute
at issue. If the response is affirmative on both counts, then the Act requires the court to enforce
the arbitration agreement in accordance with its terms.” Daugherty v. Experian Info. Solutions,
Inc., 847 F.Supp.2d 1189, 1193 (N.D. Cal. 2012) (quoting Chiron Corp. v. Ortho Diagnostic


                                                 4
Case 2:17-cv-01941-GW-E Document 25 Filed 05/04/17 Page 6 of 15 Page ID #:711



Sys., Inc., 207 F.3d 1126, 1130 (9th Cir. 2000)). “While the Court may not review the merits of
the underlying case ‘[i]n deciding a motion to compel arbitration, [it] may consider the
pleadings, documents of uncontested validity, and affidavits submitted by either party.’” Macias
v. Excel Bldg. Servs. LLC, 767 F.Supp.2d 1002, 1007 (N.D. Cal. 2011) (quoting Ostroff v.
Alterra Healthcare Corp., 433 F.Supp.2d 538, 540 (E.D. Pa. 2006)).
III. Analysis
       A. Choice of Law
       Federal courts sitting in diversity look to the law of the forum state when making choice
of law determinations. Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496 (1941). Under
California law, the parties’ choice of law reflected in a contract clause will govern provided the
chosen state bears a substantial relationship to the parties or their transaction and enforcement of
the provision does not violate a fundamental public policy of California. Hatfield v. Halifax
PLC, 564 F.3d 1177, 1182-83 (9th Cir. 2009) (quoting Boracchia v. Biomet, Inc., No. C-07-0650
MMC, 2008 WL 512721, at *3 (N.D. Cal. Feb. 25, 2008)). A substantial relationship exists
between a party and the state that party is domiciled, resides, or is incorporated in. See Nedlloyd
Lines B.V. v. Superior Court, 3 Cal.4th 459, 467 (1992) (holding incorporation and domicile
status create substantial relationship); see also Software, Ltd. v. Photon Infotech Private, Ltd.,
No. 5:12-CV-04382-EJD, 2014 WL 1728705, at *3, (N.D. Cal. May 1, 2014) (collecting cases
holding that a party has a “substantial relationship” to its state of domicile or incorporation).
Enforcing a choice of law provision does not violate a fundamental public policy of California if
doing so would not create a conflict with California law. Nedlloyd, 3 Cal.4th at 466; see also
Wash. Mut. Bank, FA v. Super. Ct., 24 Cal. 4th 906, 916-17 (Cal. 2001). Washington law, at
least in the context of consumer protection, does not conflict with California law.             See
Fagerstrom v. Amazon.com, Inc., 141 F.Supp.3d 1051, 1063–64 (S.D. Cal. 2015) (noting that
“[i]f the two state’s laws are not equally protective of consumers, and equally hostile to
unconscionable terms in consumer contracts, they are certainly close,” and that “a plausible case
can be made that Washington’s unconscionability doctrine is more protective of consumers than
California’s”) (emphasis in original). The burden is on the party opposing the choice-of-law
provision to establish both the “fundamental conflict” and “materially greater interest” prongs.
See Wash. Mut., 24 Cal. 4th at 917 (Cal. 2001) (“If the proponent of the clause… demonstrates
that the chosen state has a substantial relationship to the parties or their transaction… [the]


                                                 5
Case 2:17-cv-01941-GW-E Document 25 Filed 05/04/17 Page 7 of 15 Page ID #:712



parties’ choice generally will be enforced unless the other side can establish both that the chosen
law is contrary to a fundamental policy of California and that California has a materially greater
interest in the determination of the particular issue.”).
       Here, the parties do not dispute that the Amazon COU incorporated by reference in the
Audible COU contains a choice of law provision that provides for the application of the laws of
the state of Washington. Amazon COU at 4. Additionally, the parties do not dispute that
Defendant Amazon has Washington as its principle place of business.             MTC at 9:23-27.
Defendant Amazon also wholly owns and operates Defendant Audible. Massello Decl. ¶ 3.
Furthermore, there does not appear to be, nor has Plaintiff argued that Washington law conflicts
with California law on the relevant issue of contract formation and the enforceability of
arbitration provisions. See Opp’n at 10 n. 1. In fact, Plaintiff concedes Washington law may be
more protective than California law. Id. Finally, the parties both concede that the choice of law
will make no difference here. Id.; MTC at 9:23-10:10. As such, the Court would, in keeping
with California choice of law principles, honor the parties’ choice of law provision and apply
Washington law.
       B. Whether a valid arbitration agreement exists
       “[T]he federal policy favoring arbitration is inapplicable to the determination of whether
a valid agreement to arbitrate between the parties exists.” Campos v. Campos Family Farms,
LLC, No. 12-598-LJO, 2012 WL 2090303, at *8 (E.D. Cal. June 8, 2012) (citing Comer v.
Micor, Inc., 436 F.3d 1098, 1104 n.11 (9th Cir. 2006)). Rather, that determination is made by
reference to ordinary state law contract principles. See First Options of Chicago, Inc. v. Kaplan,
514 U.S. 938, 944 (1995). As the party moving to compel arbitration, Defendants bear the
burden of proving by a preponderance of the evidence the existence of a valid arbitration
agreement. See Lucas v. Hertz Corp., 875 F.Supp.2d 991, 998 (N.D. Cal. 2012) (citing Olvera v.
El Pollo Loco, 173 Cal. App. 4th 447, 453 (2009)).
       Defendants argue Plaintiff agreed to the Audible COU on June 26, 2016, and agreed to
the Amazon COU on multiple occasions since he became a member in 2008. MTC at 5:19-7:8.
Defendants further argue the Audible COU incorporate the valid arbitration provision contained
in the Amazon COU. See MTC at 11:14-18. Defendants also argue Plaintiff repeatedly agreed
to the Amazon COU through his Amazon account and Amazon Prime Membership, and, in
doing so, agreed to arbitrate his claims. Id. at 10:11-24.


                                                   6
Case 2:17-cv-01941-GW-E Document 25 Filed 05/04/17 Page 8 of 15 Page ID #:713



               i. Mutual Assent
       Under Washington law in order to form a valid contract the parties must manifest their
mutual assent. See Keystone Land & Dev. Co. v. Xerox Corp., 152 Wn.2d 171, 177–78 (2004);
see also Hauenstein v. Softwrap Ltd., No. C07-0572-MJP, 2007 WL 2404624, at *2-3, 6 (W.D.
Wash. Aug. 17, 2007). In the context of an electronic consumer transaction, the occurrence of
mutual assent ordinarily turns on whether the consumer had reasonable notice of a merchant’s
terms of service agreement. See, e.g., Nguyen v. Barnes & Noble Inc., 763 F.3d 1171, 1173 (9th
Cir. 2014) (“We agree with the district court that Barnes & Noble did not provide reasonable
notice of its Terms of Use, and that Nguyen therefore did not unambiguously manifest assent to
the arbitration provision contained therein.”). Reasonable notice in this context requires that the
consumer had either actual or constructive notice of the terms of service; constructive notice
occurs when the consumer has inquiry notice of the terms of service, like a hyperlinked alert, and
takes an affirmative action to demonstrate assent to them. See id. at 1176-79.
       Mutual assent is clear where the user actually clicks a button explicitly agreeing to the
terms of the contract. See Riensche v. Cingular Wireless, LLC, C06–1325Z, 2006 WL 3827477,
at *1 (W.D. Wash. 2006) (concluding that plaintiff assented to arbitration clause when he
indicated his agreement to the terms of service online); see also Feldman v. Google, Civil Action
No. 06–2540, 2007 WL 966011, at *5–8 (E.D. Pa. March 27, 2007) (holding that where user had
to “click” the “Yes, I agree to the above terms and conditions” button in order to proceed with
the online transaction, there was reasonable notice of the terms and mutual assent to the
contract). Courts have also found assent where sites contain a disclosure statement that indicates
if a user signs up for a given service they accept the terms of service. See Selden v. Airbnb, Inc.,
No. 16-CV-00933 (CRC), 2016 WL 6476934, at *5 (D.D.C. Nov. 1, 2016) (finding that user was
bound by an arbitration clause through a “sign-in wrap” agreement) (collecting cases); Fteja v.
Facebook, Inc., 841 F.Supp.2d 829, 835 (S.D.N.Y. 2012) (enforcing forum selection clause
based on disclosure below “Sign Up” button); Starke v. Gilt Groupe, Inc., No. 13 CIV. 5497
LLS, 2014 WL 1652225, at *3 (S.D.N.Y. Apr. 24, 2014) (enforcing arbitration clause, noting
that plaintiff “was directed exactly where to click in order to review those terms, and his decision
to click the ‘Shop Now’ button represents his assent to them”).
       Alternatively, some courts have refused to recognize assent where the disclosure
statement, terms of the agreement, or the hyperlink to the terms of the agreement are blocked or


                                                 7
Case 2:17-cv-01941-GW-E Document 25 Filed 05/04/17 Page 9 of 15 Page ID #:714



otherwise obstructed from view. See, e.g., Nguyen, 763 F.3d at 1173 (“Where the link to a
website’s terms of use is buried at the bottom of the page or tucked away in obscure corners of
the website where users are unlikely to see it, courts have refused to enforce the browsewrap
agreement.”); see also Sprecht v. Netscape Communications Corp. 306 F.3d 17, 22-23 (2002)
(refusing to enforce terms of use that “would have become visible to plaintiffs only if they had
scrolled down to the next screen”); Metter v. Uber Technologies, Inc., Case No. 16-cv-06652-
RS, 2017 WL 1374579 (N.D. Cal. April 17, 2017) (denying motion to compel arbitration where
sign-in agreement was only visible if user scrolled down, an action not necessary to complete the
sign up process).
       Here, Plaintiff was confronted with both the Amazon COU and Audible COU on several
occasions. In 2012 he signed up for a Prime membership, which required him to select a sign up
button directly above a disclosure stating that by signing up he was agreeing to the Prime terms
of use, and in turn, the Amazon COU. Massello Decl. ¶ 14; Mckee Decl. ¶ 4. Then, Plaintiff
repeatedly confronted a similar disclosure on Amazon’s checkout page each time he made an
Amazon purchase. Massello Decl. ¶¶ 11, 14. Most recently Plaintiff confronted a similar,
though arguably more misleading disclosure when he signed up for Audible on June 26, 2016
using his smartphone. Massello Decl. ¶ 15; Mckee Decl. ¶ 6.
       With the possible exception of Plaintiff’s June 26, 2016 registration for Audible, the
Court would find that Plaintiff was on constructive notice of, and repeatedly agreed to Amazon’s
COU. This is because the disclosure and hyperlink that appear on the Amazon checkout page
are of the same nature as those upheld in courts across multiple districts, including those
applying Washington law. See, e.g., Doe v. Project Fair Bid Inc., No. C11-809 MJP, 2011 WL
3516073, at *4 (W.D. Wash. Aug. 11, 2011) (“This kind of ‘clickwrap’ agreement has been
upheld in several cases in this circuit and elsewhere.”); Hauenstein v. Softwrap Ltd., No. C07-
0572MJP, 2007 WL 2404624, at *2-3, 6 (W.D. Wash. Aug. 17, 2007) (enforcing arbitration
agreement because plaintiff “manifested his assent to the License Agreement by ‘clicking’ the
appropriate box”); see also Selden, No. 16-CV-00933 (CRC), 2016 WL 6476934, at *5 (finding
that user was bound by an arbitration clause through a “sign-in wrap” agreement) (collecting
cases); Fteja, 841 F.Supp.2d at 835; Starke, No. 13 CIV 5497 LLS, 2014 WL 1652225, at *3
(enforcing arbitration clause, noting that plaintiff “was directed exactly where to click in order to
review those terms, and his decision to click the ‘Shop Now’ button represents his assent to


                                                 8
Case 2:17-cv-01941-GW-E Document 25 Filed 05/04/17 Page 10 of 15 Page ID #:715



 them”).
               Further, unlike cases in which courts refused to enforce provisions where the disclosures
 were not visible without additional scrolling, the disclosure on Amazon’s checkout page appear
 between the Place Your Order button and an order summary. See Massello Decl. Ex. 8. A
 disclosure also appears elsewhere on the screen directly next to, not above, another Place Your
 Order button. See Massello Decl., Ex. 8. This disclosure appears directly below a section that
 allows shoppers to review their items and shipping selections. Id. Unlike the cases on which
 Plaintiff relies, the checkout site does not bury the disclosures on a submerged screen, or obscure
 their view through pop ups. See Sprecht, 306 F.3d at 32 (finding “a reference to the existence of
 license terms on a submerged screen is not sufficient to place consumers on inquiry or
 constructive notice of those terms.”); see also Metter, Case No. 16-cv-06652-RS, 2017 WL
 1374579 (denying motion to compel arbitration where sign-in agreement was only visible if user
 scrolled down). In short, Plaintiff was on constructive notice of the Amazon COU and agreed to
 the Amazon COU each time he made a purchase with his account. The Court would thus find
 that an agreement existed, that if enforceable, covers Plaintiff’s claims.2 The same analysis
 applies to Plaintiff’s decision to sign up for Amazon Prime in 2012. See Massello Decl. Ex. 9.
                Plaintiff argues that the evidence produced by Defendants all assumes Plaintiff accessed
 Amazon and Audible using his smartphone exclusively. Opp’n at 2:16-26. However, while
 Plaintiff does claim to have only accessed Audible through his smart phone, he admits to
 accessing Amazon using other devices for at least some of his purchases. See Mckee Decl. ¶ 4.
 Specifically, Plaintiff states that he “usually” uses his smartphone to visit the Amazon site. Id.
 This is an admission he has used other devices. Id. Moreover, Defendants submit screen shots
 that demonstrate even when accessed by a mobile device, Amazon’s checkout page contained a
 disclosure and hyperlink above, the Place Your Order button. See Reply Declaration of Jason A.
 Massello (‘Reply Decl.”), Ex. 7, Docket No. 22-8 at p. 2. While it may be the case that Plaintiff
 made some purchases on Amazon or otherwise engaged with the site without being put on
 constructive notice of the terms on each visit, the preponderance of the evidence shows he has
 been on constructive notice on several occasions and agreed to the Amazon COU. This finding
 is in line with at least two other courts that have examined purchases made on Amazon in similar
 contexts. See Ekin v. Amazon Servs., LLC, 84 F.Supp.3d. 1172, 1175-78 (W.D. Wash. 2014);
                                                             
 2
     Plaintiff does not attempt to argue his claims fall outside the reach of the Amazon COU.

                                                                9
Case 2:17-cv-01941-GW-E Document 25 Filed 05/04/17 Page 11 of 15 Page ID #:716



 Fagerstrom, 141 F.Supp.3d at 1057-60.
               Plaintiff’s arguments as they relate to Plaintiff’s Audible account, which he contends he
 only visited from his smartphone and that contains a less clear disclosure, may be more
 persuasive but ultimately the Court does not need to address whether Plaintiff assented on June
 26, 2016. This is because he had repeatedly assented to the Amazon COU, and had signed into
 Audible using his Amazon Prime account. Mckee Decl. ¶ 6.3
                              ii. Unconscionability and Enforceability
               Having found that Plaintiff was on constructive notice of the Amazon COU and agreed to
 be bound by them, the Court turns to the enforceability of the arbitration agreement contained
 therein. Plaintiff argues the agreement is unconscionable both procedurally and substantively,
 and that it places users under duress. The Court would find, like several other courts interpreting
 virtually the same agreement that the arbitration agreement at issue is enforceable with the
 exception of a recently added provision appearing on the Audible website that the Court would
 sever.
               Plaintiff bears the burden of establishing the defense of unconscionability. See Zuver v.
 Airtouch Communications, 153 Wn.2d 293, 302-03 (2004). Washington law recognizes both
 procedural and substantive unconscionability.                           Id. at 303.   Substantive unconscionability
 involves those cases where a clause or term in the contract is alleged to be one-sided or overly
 harsh. Id. Procedural unconscionability is the lack of meaningful choice, considering all the
 circumstances surrounding the transaction including the manner in which the contract was
 entered, whether each party had a reasonable opportunity to understand the terms of the contract,
 and whether the important terms [were] hidden in a maze of fine print. Id.; see also Brinkley v.
 Monterey Fin. Servs., Inc., 242 Cal. App. 4th 314, 336 (2015) (applying Washington law).
 These three factors for determining procedural unconscionability are not applied mechanically
 without regard to whether in truth a meaningful choice existed. Zuver, 153 Wn.2d at 303.
                                             a. Procedural Unconscionability
               Plaintiff argues the arbitration provision contained in the Amazon COU is procedurally
 unconscionable because, among other things it is a contract of adhesion, offered solely online,

                                                             
 3
  Neither side has argued what the result would be if Plaintiff only had assented to Amazon’s COU and not
 specifically to Audible’s. Given that Audible is accessed through the Prime membership, it would appear Plaintiff’s
 claims are subject the arbitration clause either way. However, if Plaintiff contends otherwise, supplemental briefing
 may be in order.

                                                                    10
Case 2:17-cv-01941-GW-E Document 25 Filed 05/04/17 Page 12 of 15 Page ID #:717



 allows for unilateral modification, contains tiny font, ambiguous labels, and incorporates by
 reference. See Opp’n at 19:19- 22:10.
        The Court would agree the contract is one of adhesion. However, that alone does not
 render it procedurally unconscionable.         See Concepcion, 563 U.S. at 346-47 (enforcing
 arbitration provision in an adhesion contract, noting “the times in which consumer contracts were
 anything other than adhesive are long past.”); see also Fagerstrom, 141 F.Supp.3d at 1068
 (holding Amazon COU were not procedurally unconscionable even though adhesive in nature).
 Similarly, the Court would not find that the fact the Amazon COU are only available online
 means the agreement is procedurally unconscionable because Plaintiff provides no authority for
 that proposition. In fact, courts have applied Washington law and upheld the Amazon COU at
 issue. See, e.g., Fagerstrom, 141 F.Supp.3d at 1068. Furthermore, the Court already concluded
 Plaintiff was on reasonable, constructive notice via the hyperlinks that appear during the Amazon
 checkout process. See supra Section III.B.i (finding Amazon websites and mobile sites provided
 Plaintiff with constructive notice of the terms). As a result the Court would not find the size of
 the text makes the agreement procedurally unconscionable. See Fagerstrom, 141 F. Supp. 3d at
 1068 (“The notice of the [Amazon] COUs may not dominate the entire checkout page display,
 but it is reasonable notice, and that is all that is required.”). Plaintiff’s incorporation by reference
 argument is also unavailing because the arbitration provision itself was contained in the Amazon
 COU in bold font of the same size as the surrounding text. See Brown v. MHN Government
 Services, Inc., 176 Wash.2d 258, 267 (2013) (finding no procedural unconscionability where the
 arbitration provision was in the same typeface, font, and size as the rest of the terms of use). In
 sum, the Court does not find the Amazon COU to be procedurally unconscionable.
                        b. Substantive Unconscionability
        Substantive unconscionability involves those cases where a clause or term in the contract
 is alleged to be one-sided or overly harsh. Id. “Shocking to the conscience”, “monstrously
 harsh”, and “exceedingly calloused” are terms sometimes used to define substantive
 unconscionability. Nelson v. McGoldrick, 127 Wn.2d 124, 131 (1995).
        Plaintiff contends that the arbitration agreement is substantively unconscionable because
 it (1) permits unilateral modifications, (2) contains an IP carveout, (3) prohibits public injunctive
 relief, (4) limits liability, (5) contains a choice of law provision, (6) contains a class action
 waiver, and (7) includes “deceptive concessions.” Opp’n at 22:11-24:9. Defendants contend


                                                   11
Case 2:17-cv-01941-GW-E Document 25 Filed 05/04/17 Page 13 of 15 Page ID #:718



 that the agreement contains several pro-plaintiff elements and is therefore not one sided. MTC at
 15:3-16. The Court would agree with the other courts that have examined the Amazon COU and
 find that it is not substantively unconscionable. See Ekin, 84 F.Supp.3d. at 78 (finding that
 Amazon’s arbitration provision was not unconscionable); Fagerstrom, 141 F.Supp.3d at 1064-76
 (same); Peters v. Amazon Servs. LLC, 2 F.Supp.3d 1165, 1170 (W.D. Wash. 2013) (same).
        As an initial matter, Plaintiff’s class action waiver argument ignores the breadth of case
 law permitting such waivers. Concepcion, 131 S. Ct. at 1753; see also Am. Express Co. v.
 Italian Colors Rest., 133 S. Ct. 2304, 2309 (2013) (upholding class action waiver and noting that
 Rule 23 does not establish an entitlement to class proceedings for the vindication of statutory
 rights). While Plaintiff is correct the presence of a waiver may be a factor, it is not sufficient to
 demonstrate substantive unconscionability. Similarly, Plaintiff’s choice of law argument is
 unavailing. As discussed above, Plaintiff admits Washington law is as protective of consumers if
 not more so than California. Opp’n at 10 fn. 1; see also Fagerstrom, 141 F. Supp. 3d at 1063.
 The Court is also not convinced that the Amazon COU contain deceptive concessions. Similarly,
 the Court agrees with Defendants that there is no prohibition on injunctive relief in the
 arbitration provision. See Reply at 18:2-11.
        Plaintiff’s unilateral modification argument fails because there are other limitations to
 Amazon’s ability to abuse this power. See Fagerstrom, 141 F.Supp.3d at 1017. Specifically,
 the performance obligations of both parties, including the core obligation to arbitrate disputes, is
 fixed and in effect under the current Agreement, and (2) the implied duty of good faith and fair
 dealing requires Amazon to exercise its discretion in a manner consistent with the justified
 expectations of the parties. Id. The Court would also agree with the court in Fagerstrom that the
 IP carveout is not necessarily entirely one-sided as it is at least conceivable an Amazon user
 could end up in an IP dispute. Id. Moreover, the IP carveout, though it may be unequal, does
 not itself create substantive unconscionability. Id.; see also Rev. Code Wash. § 62A.2–302
 (“The principle [of unconscionability] is one of the prevention of oppression and unfair surprise
 and not of disturbance of allocation of risks because of superior bargaining power.”).
         On the other hand, Plaintiff’s argument concerning a provision that caps Audible’s total
 amount of potentially liability at the amount of money a member has spent in the previous year is
 problematic for Defendants. See Opp’n at 23:9-28; Soderstrom Decl. Ex. 4, Docket No. 21-7.
 This is because that provision is wholly one-sided and arbitrarily caps damages. See Zuver, 153


                                                  12
Case 2:17-cv-01941-GW-E Document 25 Filed 05/04/17 Page 14 of 15 Page ID #:719



 Wash.2d at at 317-19 (finding remedy limitation provision unconscionable where it was one-
 sided). The Court would find that this term is unconscionable and sever that provision without
 disturbing the rest of the agreement. Id. at 320 (“Courts are generally loath to upset the terms of
 an agreement and strive to give effect to the intent of the parties . . . . Consequently, when parties
 have agreed to a severability clause in an arbitration agreement, courts often strike the offending
 unconscionable provisions to preserve the contract’s essential term of arbitration. See . . .
 Gannon v. Circuit City Stores, Inc., 262 F.3d 677, 683 (8th Cir. 2001) (holding that
 unconscionable damages provision could be severed to preserve the parties’ ‘contractual intent to
 arbitrate’).”).4
               Plaintiff’s duress argument is not persuasive. Opp’n at 24:20-25:18. Plaintiff argues that
 because the only way a user can refuse to agree to a unilateral modification is to cancel its
 membership − a move that may require it to forfeit its stored credits − Audible effectively forces
 its users to give up the credits or accept the changes. This is because, to actually use the credits
 before cancellation, would be to accept the new terms. Id. The Court would find that this
 feature of the agreement is not unconscionable as much as part of the bargain. See Rev.Code
 Wash. § 62A.2–302 (“The principle [of unconscionability] is one of the prevention of oppression
 and unfair surprise and not of disturbance of allocation of risks because of superior bargaining
 power.”). Defendants provide users credits as part of their Audible subscription, and those
 credits may be effected negatively should a user wish to terminate its membership. That reality
 does not render the arbitration provision unconscionable. Moreover, and as stated above, there
 are other limitations on the Defendants’ unilateral ability to modify the agreement.                            See
 Fagerstrom, 141 F.Supp.3d at 1017.
               In sum, the Court would find that, apart from the offending limitation of liability
 provision, the Amazon COU and Audible COU are not unconscionable and are enforceable. As
 stated above, this conclusion is in line with the other courts that have examined this agreement.
 See Ekin, 84 F.Supp.3d. at 78 (finding that Amazon’s arbitration provision was not
 unconscionable); Fagerstrom, 141 F.Supp.3d at 1064-76 (same); Peters, 2 F.Supp.3d at 1170
 (same).



                                                             
 4
   Defendants do not address this liability limitation provision in their Reply. The Court would entertain argument on
 this point before finalizing the decision with regard to severing this term.

                                                                13
Case 2:17-cv-01941-GW-E Document 25 Filed 05/04/17 Page 15 of 15 Page ID #:720



 IV. Conclusion
        For the reasons stated above, the Court would GRANT Defendants’ Motion to Compel
 Arbitration.
  




                                           14
